               Case 3:12-cr-02869-W                     Document 31               Filed 07/30/12              PageID.81          Page 1 of 2
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      'AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
                                                                                                                                 JUL 3 0 2012
                Sheet I

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                                                                                                                                        ',iCT :!F C:"L:FOR'-,i':'

                                              UNITED STATES DISTRICT COURT::-                                                                          D:~L.T·
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                           BRIAN BECERRIL (2)                                     Case Number: 12CR2869-W
                                                                                   L Marcel Stewart
                                                                                   Defendant's Attorney
     REGISTRATION NO. 33714298

     o
     THE DEFENDANT:
     ~ ~~dedguihy~coun~s)_T_w_O_o_f_ili~e_I_n£_o_~~a_ti_on~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     o    was found guilty on count(s)_~~~~~~~_ _~_ _~~~_~~~_ _~~~~_ _ _~_ _ _~_
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature of Offense                                                                             Number(s)
8 USC 1324(a)(l)(A)(ii)               Attempted Transportation of Illegal Aliens and Aiding and Abetting                                           2
 and (v)(Il)




        The defendant is sentenced as provided in pages 2 through _~.::2~_of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D The defendant has been found not gUilty on count(s)
  o   Count(s)_ _ _ _ _ _ _~_ _ _~~~~~~~_~_ is
                                                            ~~~---~~-----~-----~-----~-------------
                                                                                       0      areD dismissed on the motion of the United States.
  ~ Assessment: $IOO.OO-WAIVED



  181 Fine waived                                  D    Forfeiture pursuant to order filed       ~~~~~~~~--
                                                                                                                               , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name. residence.
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution. the
 defendant shall notify the court and United Stales Attorney of any material change in the defendant's economic circumstances.

                                                                              JULY 30,2012
                                                                             Date of Imposition of Sentence




                                                                              UN ITED STATES DIST

                                                                                                                                                 I2CR2869-W
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AD 245B (CASD) (Rev, 12/11) Judgment in a Criminal Case
           Sheet 2 Imprisonment

                                                                                           Judgment   Page _...;,2_ of       2
 DEFENDANT: BRIAN BECERRIL (2)
 CASE NUMBER: 12CR2869-W
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         SIXTY (60) DAYS



    o Sentence imposed pursuant to Title 8 USC Section J326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.       on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before --------------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at ___________________________ , with a certified copy of this judgment.


                                                                                         UNITED STA TES MARSHAL


                                                                    By __________~~~~~~~~~~------------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                     12CR2869-W
